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                       UNITED STATES DISTRICT COURT
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                       SOUTHERII DISTRICT OF'GEORGIA
                             DUBLIN DIVISION
                                                                        0t[ lS p ] 3?
                                                                     tSllr
UNITED STATESOF AMERICA
                                                INDICTMENT NO. 3:[



CHRISTOPHERPAUL WILLIS.
     AKA, "FLORIDA"

                    Defendant


             ORDER GRANTING MOTION FOR LEAVE OF ABSENCE

      WHEREASTina E. Maddoxhasfiled a Motion for Leaveof Absencein the above-styled

actionrequestingleaveform courtffom December23, 2014throughJanuary5, 2015 andthe

Court havingconsidered
                     the same,

      IT IS HEREBY ORDER-EDAND ADJUDGEDthat saidMotion for Leaveof Absenceis

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URANTED.                    <---           fr
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                                      SouthemDistrict of Georsia.Dublin Division




Orderpreparedby:

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Vidalia, GA 30475
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